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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
-------------------------------------------------------------------------------X
Phillip David Schaub,


                                            Plaintiff,
                                                                                  06-CV 002725-001

                          -Against-


The County of Olmstead; Olmstead County Adult
Detention Center; Steven VonWald; International
Home; Bernard Seizer; John Does 1-6
                                             Defendants.
------------------------------------------------------------------------------X

                         INITIAL DISCLOSURES OF PLAINTIFF

        Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, the

answering Defendants make the following initial disclosures:

        (A)      The name and, if known, the address and telephone number of each

individual likely to have discoverable information that the disclosing party may use

to support its claims or defenses, unless solely for impeachment, identifying the

subjects of the information.

        Steven VonWald                                        Director, Olmstead County Jail
                                                              101 4th Street SE
                                                              Rochester, MN 55904

        Kathryn A. Stolpe, M.D.                               Mayo Clinic
                                                              Chair of Department of Physical
                                                              Medicine
                                                              200 First Street SW
                                                              Rochester, MN 55905

        Mark Christofferson                                   Mayo Clinic
                                                              Department of Rehabilitation
                                                              200 first Street SW
                                                              Rochester, MN 55905
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       Dr. Aderonke Mordi
                                                      International Quality
                                                      Homecare Corporation
                                                      602 11th Avenue NW, Suite 100
                                                      Rochester, MN 55901

       Carol Gattfield                                Registered Nurse
                                                      International Quality
                                                      Homecare Corporation
                                                      602 11th Avenue NW, Suite 100
                                                      Rochester, MN 55901



       Each of the aforementioned witnesses are expected to testify regarding the

conditions at Olmstead County Jail, Plaintiff’s medical condition and the care and

treatment rendered to Plaintiff during his confinement.

       Plaintiff reserves the right to supplement the list of witnesses.

       (B)     A copy of, or a description by category and location of, all

documents, data compilations, and tangible things that are in the possession,

custody, or control of the party and that the disclosing party may use to support

its claims or defenses, unless solely for impeachment:

       Documents, located at the Olmstead County Jail together with Plaintiff’s medical

records from the Mayo Clinic for before his confinement, during his confinement and

after his confinement regarding his medical condition upon entering Olmstead County

Jail and the care and treatment he received while confined to the facility and the resulting

injuries caused thereby.

       Plaintiff reserves the right to supplement this list of documents.
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       (C)     A computation of any category of damages claimed by the

disclosing party, making available for inspection and copying as under Rule 34

the documents or other evidentiary material, not privileged or protected from

disclosure, on which such computation is based, including materials bearing on

the nature and extent injuries suffered;

       As a result of the actions of the Defendants herein Plaintiff has suffered

and continues to suffer from numerous infections which have caused continuous

hospitalizations from the date of his release through to the current time.

Documentation will be provided under separate cover.



       (D)     For inspection and copying as under Rule 34 any insurance

agreement under which any person carrying on an insurance business may be

liable to satisfy part or all of a judgment which may be entered in the action or

to indemnify or reimburse for payments made to satisfy the judgment.

       Not applicable.


Dated: Woodbury, New York
       May 16, 2007

                                       Law Offices of
                                       Anthony J. Colleluori
                                       & Associates
                                       Attorney for Plaintiff

                                      ____/s/__________________

                                        By: Diane C. Petillo
                                                 (DP 0336)
                                        180 Froehlich Farm Blvd.
                                        Woodbury, NY 11797
                                        (516) 741- 3400
